                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                               No. 5:21-cv-124

CHRISTINE ANN FINNEY AND
PAUL K. FINNEY, AND
SALLIE SHUPING RUSSELL,
                                                      REPORT OF THE PARTIES’
     Plaintiffs,                                        PLANNING MEETING
                                                          Fed R. Civ. P. 26(f)
v.

PREFERRED CONTRACTORS
INSURANCE COMPANY, RRG,

     Defendant.

PREFERRED CONTRACTORS
INSURANCE COMPANY, RRG,

     Third-Party Plaintiff,

v.

COLONIAL ROOFING &
CONSTRUCTION, LLC,

     Third-Party Defendant


1.   Pursuant to Fed. R. Civ. P. 26(f), a meeting was held on May 21, 2021 via telephone and

     was attended by the undersigned attorneys for Plaintiffs Christine Ann Finney, Paul K.

     Finney, and Sallie Shuping Russell (“Plaintiffs”), Defendant and Third Party Plaintiff

     Preferred Contractors Insurance Company, RRG (“PCIC”), and Third Party Defendant

     Colonial Roofing & Construction, LLC (“Colonial”).

2.   Nature and complexity of the case: In this matter, Plaintiffs, who are homeowners, filed

     suit against PCIC, the insurer of Colonial, a roofing and construction company, following

     Plaintiffs litigating and obtaining judgments against Colonial in two state court actions.




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     In the original underlying state court actions, Plaintiffs contended that Colonial had

     improperly performed roof replacements on their vacation homes after Hurricane

     Florence. Colonial did not answer or appear in those lawsuits and Plaintiffs obtained

     default judgments which they now seek to enforce against PCIC. For its part, PCIC seeks

     a declaratory judgment action against Plaintiffs and Colonial establishing that there was

     no coverage under the commercial general liability policy it issued to Colonial for the

     claims asserted by Plaintiffs. Colonial has just been served, and as such, it has not yet

     answered the Third Party Complaint (although it did participate in the Rule 26(f)

     conference in this matter).

3.   Initial Disclosures. Pursuant to Federal Rule of Civil Procedure 26(a)(1), the parties

     agree that all initial disclosures will be made within 21 days of this Court’s entry of a

     scheduling order for discovery.

4.   Discovery Plan. The parties propose to the court the following discovery plan:

     a.      Discovery will be needed on the following subjects: (1) liability; (2) causation of

             damages; (3) amount of damages if any; and (4) declaratory relief related to

             certain insurance coverage issues.

     b.      All discovery (general and expert) commenced in time to be completed by

             February 21, 2022.

     c.      The maximum number of interrogatories by each party to another party is thirty

             (30). The parties can agree to extend the maximum number of interrogatories or

             request that the maximum number of interrogatories be increased by the Court.

     d.      The maximum number of requests for admissions by each party to another party

             is twenty-five (25). The parties can agree to extend the maximum number of




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             requests for admissions or request that the maximum number of requests for

             admissions be increased by the Court.

     e.      Each party is limited to five (5) depositions (excluding any retained testifying

             experts). The parties can agree to extend the maximum number of depositions or

             request that the maximum number of depositions be increased by the Court.

     f.      Each deposition, other than those of retained testifying experts, shall be limited to

             maximum of seven (7) hours on the record unless otherwise extended on the

             record or by the written agreement of the parties.

     g.      Reports from retained experts under Rule 26(a)(2) are due during the discovery

             period from Plaintiffs by September 27, 2021, and from PCIC by November 5,

             2021 and from Colonial by December 3, 2021. Supplementations under Rule

             26(e) are due by January 24, 2022.

5.   Other Items. The parties do not request a conference with the court before the entry of

     the scheduling order.

     a.      Plaintiffs should be allowed until July 19, 2021, to request leave to join additional

             parties or amend pleadings.

     b.      PCIC and Colonial should be allowed until August 16, 2021, to request leave to

             join additional parties or amend pleadings.

     c.      All potentially dispositive motions should be filed by March 21, 2022.

     The parties agree that settlement cannot be evaluated prior to the commencement of

     discovery and that settlement would be enhanced by use of a Mediated Settlement

     Conference.




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      d.      The deadline for parties to have a Mediated Settlement Conference is March 14,

              2022.

      e.      The parties have discussed the issue of consent to the jurisdiction of a U.S.

              magistrate judge and the parties do not consent to magistrate judge jurisdiction.

      f.      Final lists of witnesses and exhibits under Rule 26(a)(3) should be made by the

              parties at least 30 days prior to trial of this matter.

      g.      Parties should have 14 days after service of final lists of witnesses and exhibits to

              list objections under Rule 26(a)(3).

      h.      The case should be ready for trial by Jun 13, 2022 and at this time is expected to

              take approximately 2-4 days.

      Respectfully submitted this the 28th day of May, 2021.

/s/ James S. Schenck, IV                               /s/ Andrew K. McVey
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                                 No. 5:21-cv-124

CHRISTINE ANN FINNEY AND
PAUL K. FINNEY, AND
SALLIE SHUPING RUSSELL,
                                                         CERTIFICATE OF SERVICE
       Plaintiffs,

v.

PREFERRED CONTRACTORS
INSURANCE COMPANY, RRG,

       Defendant.

PREFERRED CONTRACTORS
INSURANCE COMPANY, RRG,

       Third-Party Plaintiff,

v.

COLONIAL ROOFING &
CONSTRUCTION, LLC,

       Third-Party Defendant


       Pursuant to Rules 5.1(a)(1) and (e) of the Local Civil Rules of Practice and Procedure of

the United States District Court for the Eastern District of North Carolina, I certify that on May

28, 2021 I filed Defendant’s Notice of Removal and accompanying documents with the Court’s

Electronic Case Filing (“ECF”) system. The act of filing this document with the Court’s ECF

system automatically generated a Notice of Electronic Filing (“NEF”), which constitutes proof of

service of the filed document upon all registered users. As such, service has been accomplished

through the NEF for parties and counsel who are registered users of the Court’s ECF system. The

Third Party Defendant will be served by the Federal Rules of Civil Procedure.



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                           Respectfully Submitted,

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